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                                   4                                        UNITED STATES DISTRICT COURT

                                   5                                       NORTHERN DISTRICT OF CALIFORNIA

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                                   7        JENNY, et al.,                                   Case No. 23-cv-01706-SK
                                   8                         Plaintiffs,
                                                                                             ORDER GRANTING PLAINTIFF'S
                                   9                v.                                       MOTION TO PROCEED UNDER
                                                                                             PSEUDONYM
                                  10        RUBEN ERIC CALLE,
                                  11                         Defendant.                      Regarding Docket No. 6
                                  12             On April 10, 2023, Plaintiffs brought a motion to proceed with the instant action under
Northern District of California
 United States District Court




                                  13   pseudonyms. (Dkt. No. 6.) Defendant’s deadline to oppose this motion was April 23, 2023, and
                                  14   no opposition was filed. Plaintiffs are the subjects of several series of images of child
                                  15   pornography. Defendant has pled guilty and been convicted of possessing these images, and
                                  16   Plaintiffs here seek civil damages against him. (Dkt. No. 2.) In their motion to proceed under
                                  17   pseudonyms, Plaintiffs have demonstrated the personal, intimate, and violative nature of the
                                  18   images at issue and have shown that they face continuing humiliation and harassment on the basis
                                  19   of their original victimization. “[M]any federal courts, including the Ninth Circuit, have permitted
                                  20   parties to proceed anonymously when special circumstances justify secrecy.” Does I thru XXIII v.
                                  21   Advanced Textile Corp., 214 F.3d 1058, 1067 (9th Cir. 2000). Such special circumstances are
                                  22   present when “nondisclosure of the party’s identity is necessary … to protect a person from
                                  23   harassment, injury, ridicule or personal embarrassment.” Id. at 1067-68.
                                  24   //
                                  25   //
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                                           Case 3:23-cv-01706-SK Document 12 Filed 05/10/23 Page 2 of 2




                                   1          The Court finds that there is ample justification for allowing these vulnerable Plaintiffs to

                                   2   protect their identities through the use of pseudonyms throughout this action. Accordingly, it is

                                   3   HEREBY ORDERED that Plaintiffs may proceed herein under the pseudonyms “Jenny Doe” and

                                   4   “Lily Doe.”

                                   5          IT IS SO ORDERED.

                                   6   Dated: May 10, 2023

                                   7                                                   ______________________________________
                                                                                       SALLIE KIM
                                   8                                                   United States Magistrate Judge
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Northern District of California
 United States District Court




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